Case: 1:17-cv-08576 Document #: 46 Filed: 04/15/19 Page 1 of 1 PagelD #:157

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS APR 15 2019
EASTERN DIVISION

 

Cristian Ramos, "SUNIL Rt HARN
Plaintiff(s), )
Vv. Case No. 17 € 08576
Sgt. Gee, et al.,
Defendant(s). )
LIMITED ASSIGNMENT OF

SETTLEMENT ASSISTANCE PROGRAM COUNSEL

The Court hereby assigns the herein named attorney to represent the Plaintiff solely for the limited
purpose of assisting Plaintiff in connection with settlement proceedings in this case. Assigned counsel
shall not be obligated to conduct any discovery, to prepare or respond to any motions and shall not be
responsible for the trial of this case. The assigned attorney may not enter into any fee agreement with
the pro se party, or otherwise seek compensation from the pro se party, in connection with this
assignment. On notice to the Court, assigned counsel may seek to end the representation of Plaintiff
upon completion of the settlement conference.

i Scott T, Kami
Name of Assigned Counsel: 0 amin

 

Law Firm: Kamin Civil Rights Group

 

Street Address: 53 W. Jackson

 

ite #
Suite Number: Suite #1057

 

Chicago, IL, 60604

 

City, State & Zip Code:

~884
Telephone Number: (312) 307-8848

 

I hereby acknowledge that | have read, understand and agree to the terms of this Limited
Assignment of Settlement Assistance Program Counsel.

Dated: Reaves 202 ” Leta ey eb veal
Pro Se Plaintiff

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1S ZONF
Dated: - fo! t Honorable Swa/ Havian
Judge us
